                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


CRAIG CUNNINGHAM                             )
                                             )
v.                                           ) NO. 3-14-2409
                                             ) JUDGE CAMPBELL
NAVIENT AND SLM CORP.                        )


                                             ORDER

       The parties have filed a Joint Stipulation of Dismissal with Prejudice (Docket No. 27).

Accordingly, this action is DISMISSED with prejudice, and the Clerk is directed to close the file.

Any pending Motions are denied as moot. This Order shall constitute the final judgment in this case

pursuant to Fed. R. Civ. P. 58.

       IT IS SO ORDERED.


                                                     ___________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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